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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MICHAEL I. BROWN )

302 Old Branchville Road )

Ridgefield, CT 06877, )
) Civil Action No.:

Plaintiff, )

)

V. )

)

Chemonics International, Inc., )

1717 H. Street, N.W. )

Washington, DC 20006 )

)

Defendant, )

COMPLAINT

The Plaintiff, Michael I. Brown, by his counsel, files this Complaint pursuant to Federal
Rules of Civil Procedure 8, and states the following cause of action against the Defendant,
Chemonics International, Inc.
I. The Parties
1. Plaintiff Michael I. Brown is an individual, who was formerly employed by Defendant,
and Plaintiff currently resides at 302 Old Branchville Road, Ridgefield, Connecticut,
06877, |
2. Defendant Chemonics International, Inc., is incorporated in Delaware and has its
headquarters at 1717 H, Street, N.W., Washington, DC 20006, Defendants registered
agent is CT Corporation System, 1015 15" Street, Suite 1000, Washington, D.C. 20005.
Il. Jurisdiction & Venue
3. This is an action based on a claim of illegal age discrimination in violation of the Age
Discrimination in Employment Act (“ADEA”) 29 U.S.C. § 621 et seq, and this this court

has jurisdiction pursuant to 28 U.S.C, § 1331,

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4, | Venue is proper as Defendant’s principal place of business in Washington, D.C.

5. Plaintiff has fulfilled all conditions precedent to the institution of this suit, and has
satisfied all jurisdictional prerequisites to the maintenance of this action. Plaintiff filed
his Charge with the Equal Employment Opportunity Commission (“EEOC”) on May 21,
2020 and again on July 7, 2020. The EEOC on December 4, 2020 issued a Right to Sue
letter to Plaintiff, attached hereto as Exhibit A.

HI. Statement of Facts

6. Plaintiff was employed by Defendant from approximately March, 2014 until March 20,
2020, and when hired was REPLACE IDIQ Manager and Home Office Director, and was
subsequently designated as director, Environment & Natural Resources practice.

7. Plaintiff was informed on February 20, 2020 that his position was being terminated due
to budget constraints. Based on information and belief, budget constraints did not require
the termination of the Plaintif? s job, and were not in fact the reason for the termination
of the Plaintiff's job. Indeed, at a February 7, 2020 meeting Defendant’s Executive Vice
President Anna Slother stated that practice staff would not be terminated due to budget
constraints.

8. Plaintiff at the time of his job termination was 67 years old.

9. Plaintiff was the only home office director of a practice terminated at the time his
employment was ended, and he was at the time, one of the very oldest home office
director for the Defendant. There were approximately nine or ten (9-10) home office
directors of practices who were not terminated, and they were in their 40’s and 50’s, with

one practice co-managed by two staff in their 30’s, substantially younger than the

Plaintiff.

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10. Plaintiff was essentially replaced by younger employees, with the core of his job
responsibilities being assigned to Marvie Javed, the former associate in the Environment
& Natural Resources practice, who is substantially younger than the Plaintiff, by at least
25 years. Ms. Javed is apparently being supported by a team of more senior directors, all
of whom are substantially younger than Plaintiff, at least 10 years younger, with the
possible exception of one.

11. Defendant has engaged in a pattern and practice of discriminating against older workers
and either terminating their employment, or pushing them to resign their employment, or
retire, so that they can be replaced by younger workers.

12. Defendant had and has a culture of ageism and discriminating against older workers, and
that resulted in a pattern of selecting older workers for termination of employment,
including the Plaintiff. While the Defendant had programs to promote diversity, age
diversity was not one of them.

FIRST CLAIM FOR RELIEF
(Age Discrimination in Violation of ADEA)

13.  Plawntiffrepeats and re-alleges the allegation contained in the proceeding paragraphs
above as if fully set forth herein.

14. Defendant, through its agents, servants and employees, discriminated against Plaintiff in
the terms and conditions of his employment based on his age in violation of the Age
Discrimination in Employment Act, 29 U.S.C. § 621, including terminating his
employment with Defendant because of his age. The Defendant’s actions were in
knowing or reckless disregard for whether its conduct was prohibited by statute, and

a

constituted willful violations of the Age Discrimination in Employment Act, 29 U.S.C. §

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621.

15. Asa direct result of the aforesaid unlawful discriminatory employment practices engaged
in by the Defendant in violation of Age Discrimination in Employment Act, 29 U.S.C. §
621, Plaintiff sustained permanent and irreparable harm, resulting in loss of his
employment, which caused him to sustain loss of earnings, plus the value of certain
benefits, plus loss of future earning power, plus back pay, front pay, interest, and
compensatory and punitive damages.

WHEREFORE, Plaintiff demands judgement:
A. Reinstating Plaintiff's employment and enjoining Defendant from discriminating
against Plaintiff on the basis of his age, and/or awarding front pay.
B. Award Plaintiffs back pay;
C, Awarding Plaintiffs compensatory damages, including but not limited to damages
for emotional distress;
D. Awarding Plaintiffs punitive damages;
E. Award Plaintiff liquidated damages;
F, Awarding reasonable attorney’s fees, costs, and expenses; and
G, Granting such other legal and equitable relief to the Plaintiff as the Court may
deem just and equitable.
JURY DEMAND
Plaintiff demand trial by jury of all issues as of right by a jury.
By_/s/ Lawrence P. Postol

Lawrence P, Postol
DC Bar No. 239277

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Postol Law Firm, P.C.
6842 Elm Street
McLean, VA 22101
(571)-378-6366
Lpostol@PostolLaw.com

Dated: December 15, 2020

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EEOC Form 161-B (11/6) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE (/SSUED ON REQUEST)
To: Michael |, Brown From: Washington Field Office
302 Old Branchville Rd. 131 M Street, N.E.
Ridgefield, CT 06877 Suite 4NW02F

Washington, DC 20507

[] On behalf of person(s} aggrieved whose identity is
CONFIDENTIAL (29 CFR §1607,7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Richard H. Kim,
§70-2020-01624 Enforcement Supervisor (202) 419-0794

 

(See also the additional information enclosed with this form.)
Notice TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title Vil, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS

of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

[| More than 180 days have passed since the filing of this charge.

L_] Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge,

| The EEOC is terminating its processing of this charge.
[| The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
The EEOC is closing your case. Therefore, your lawsuit under the ADEA must he filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.} EPA sults must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office,
On behalf of the Commission

fichard Keim For DEC 04 2020

Mindy E. Weinstein, (Date Mailed)
Director

Enclosures(s)

oe. Shana Madigan

975 F Street NW
Washington, DC 20004

 
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Enclosure with EEOC
Form 161-B (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAws ENFORCED BY THE EEOC

(This information relates fo filing suit in Federal or State court under Federal faw.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of Stafe law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act {ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you {as
indicated where the Notice is signed} or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. !f so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Titie Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title V!l, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION ~- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case, If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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Enclosures{s}

6: Shana Madigan

975 F Street NW
Washington, DC 20004
